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                         Exhibit 3
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         11 September 2023

         By email to: melkin@winston.com

         Dear Mr Elkin

         IFPI – COPYRIGHT INFRINGEMENT – MUSI Ref. APP187194

         We write in response to your letter dated 31 July 2023 regarding the report submitted
         by IFPI to the Apple App Store in respect of the Musi app.

         You have stated that you are the US legal counsel to Musi in connection with this
         matter. As you will appreciate, IFPI is the international trade association that
         promotes the interests of the recording industry worldwide. Our membership across
         IFPI and its National Groups includes some 8,000 major and independent record
         companies in over 70 countries. IFPI also has affiliated industry associations in over
         70 countries. Our understanding is that your client is based in Canada. Moreover,
         your client makes its Musi service available to consumers in multiple countries,
         including within the EU, and IFPI does not make its claims under US law. In the light of
         this clarification, please confirm whether you remain instructed to represent Musi in
         respect of this matter under non-US law.

         As outlined in the content dispute report submitted to Apple, your client is making
         available to the public without authorisation commercially released sound recordings
         and music videos, the copyright in which is owned or controlled by IFPI members (“IFPI
         Member Content”). By virtue of the functionality offered by the Musi app, and on the
         basis of laws e.g., in the EU Member States and the UK, your client requires a license
         to continue making available to the public IFPI Member Content.

         Musi’s “secret sauce” which purports to offer unreleased or pre-released content
         including IFPI Member Content, exposes your client to further claims in several
         jurisdictions, including in the EU.

         Accordingly, we maintain our complaint with Apple regarding your client’s app as long
         as it makes available IFPI Member Content to the public without authorisation.

         IFPI and its members expressly reserve all of their rights and remedies in relation to
         this matter.

         Yours sincerely                                                                                  IFPI Secretariat
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